Case 1:22-cr-00105-DLC Document 114-2 Filed 04/06/23 Page 1 of 2




                 EXHIBIT B
           Case 1:22-cr-00105-DLC Document 114-2 Filed 04/06/23 Page 2 of 2


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April 5, 2023

Via Electronic Mail
Michael K. Krouse, Esq.
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Veronica E. Callahan, Esq.
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250 W. 55th St.
New York, NY 10019

            RE:       United States v. James Velissaris

Dear Counsel:

        This letter is written as a follow-up to the letter we sent to each of you yesterday. To date,
we have not received a response, or even an acknowledgement that the letter has been received. If
Mr. Velissaris’ recollection of the conversation(s) relating to Michael Krouse is not accurate,
please let us know. If his recollection is accurate, we request a response to yesterday’s letter.

        As you may know, we have a filing deadline today. If we do not receive a response by
close of business today, we will bring this issue to Judge Cote’s attention and seek judicial
assistance in obtaining answers to the questions raised in yesterday’s letter.

                                                          Sincerely,



                                                          William R. Martin
